Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 1 of 30 Page ID #:1037



   1   UMBERG ZIPSER LLP
       Dean J. Zipser (SBN 94680)
   2   dzipser@umbergzipser.com
       ADINA W. STOWELL (SBN 211719)
   3   astowell@umbergzipser.com
       1920 Main Street, Suite 750
   4   Irvine, CA 92614
       Telephone: (949) 679-0052
   5   Fax: (949) 679-0461
   6   MORRIS, MANNING & MARTIN, LLP
       Robert P. Alpert (Pro Hac Vice)
   7   rpa@mmmlaw.com
       Jeffrey K. Douglass (Pro Hac Vice)
   8   jdouglass@mmmlaw.com
       1600 Atlanta Financial Center
   9   3343 Peachtree Road, NE
       Atlanta, GA 30326
  10   Telephone: (404) 233-7000
       Fax: (404) 365-9532
  11
       Attorneys for Defendant
  12   Home Depot U.S.A., Inc.
  13
                               UNITED STATES DISTRICT COURT
  14
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
  15
  16
       JAMES WEEKS, individually and              Case No.: 2:19-cv-06780-FMO-AS
  17   on behalf of all others situated,
                                                  ASSIGNED TO:
  18                  Plaintiff,                  Hon. Fernando M. Olguin
  19            vs.                               REPLY MEMORANDUM IN
                                                  SUPPORT OF HOME DEPOT U.S.A.,
  20   HOME DEPOT U.S.A., INC., a                 INC.’S MOTION TO DISMISS THE
       Delaware corporation, and DOES 1           FIRST AMENDED CLASS ACTION
  21   through 100, inclusive,                    COMPLAINT
  22                  Defendants.                 Date:          January 30, 2020
                                                  Time:          10:00 a.m.
  23                                              Courtroom:     6D
  24                                              Complaint Filed: August 5, 2019
                                                  Amended Complaint Filed: November 22,
  25                                              2019
  26
  27
  28
       {195359.1}

                                                                       2:19-CV-06780-FMO-AS
                             HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 2 of 30 Page ID #:1038



   1                                            TABLE OF CONTENTS
   2   I.       INTRODUCTION .......................................................................................... 1
   3
       II.      ARGUMENT ................................................................................................. 2
   4
   5            A. Plaintiff’s Claim Is Expressly Preempted By FIFRA .............................. 2
   6
                    1. Plaintiff cannot plead around FIFRA’s bar on additional state law
   7                   requirements for labeling ..................................................................... 2
   8
   9
                         a. The Ninth Circuit has rejected Plaintiff’s argument based
                            on Allenby ....................................................................................... 2
  10
                         b. Plaintiff’s cases are factually inapposite......................................... 4
  11
  12                 2. Plaintiff’s claim diverges from at least two FIFRA requirements. .... 6
  13
                B. Plaintiff’s Arguments that Impossibility Preemption is Inapplicable in the
  14               FIFRA Context and that Home Depot Fails the Wyeth Standard are
  15               Legally and Factually Incorrect ................................................................ 8

  16            C. Home Depot Cannot Be Liable Under the UCL Because Plaintiff Admits
  17               that Home Depot Did Not Participate In, Control, or Adopt the Alleged
                   Unlawful Practices .................................................................................. 10
  18
  19            D. Plaintiff’s Claim Is Substantively a Proposition 65 Claim, and Is Thus
  20               Barred By His Failure to Comply With Proposition 65’s Notice
                   Requirements and a Current Injunction Preventing Enforcement of a
  21
                   Proposition 65 Warning for Glyphosate ................................................. 14
  22
  23                1. Despite Plaintiff’s conclusory assertions to the contrary, his claim
                       arises under Proposition 65 ................................................................ 14
  24
  25                2. The injunction in Wheat Growers prevents enforcement of a cancer
                       warner for glyphosate......................................................................... 18
  26
  27
  28
       {195359.1}                                                  i
                                                                            2:19-CV-06780-FMO-AS
                                  HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 3 of 30 Page ID #:1039



                       1            E. Plaintiff Has Not Pleaded His Claim with the Particularity Required by
                       2               Fed. F. Civ. P. 9(b) .................................................................................. 18
                       3
                                    F. Plaintiff Lacks Article III Standing to Seek Injunctive Relief Because He
                       4               Does Not Plead That He is Likely to Suffer Future Injury ..................... 21
                       5
                                        1. Plaintiff does not allege an intention to purchase Roundup in
                       6                   the future ............................................................................................ 21
                       7
                                        2. There is no plausible likelihood that Plaintiff will be deceived again
                       8
                                           regarding Roundup’s alleged carcinogenicity. .................................. 22
                       9
                    10     V. CONCLUSION ................................................................................................. 23
                    11
                    12
                    13
                    14
                    15
                    16
                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                                                  ii
  ATTO RNEY S AT LAW
        IRVINE
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 4 of 30 Page ID #:1040



                       1                                        TABLE OF AUTHORITIES
                       2
                           Cases
                           Adams v. Target Corp.,
                       3
                                    2014 WL 12558290 (C.D. Cal. Mar. 3, 2014) ......................................... 10, 11
                       4
                           Anthony v. Pharmavite,
                       5
                                    2019 WL 109446 (N.D. Cal. Jan. 4, 2019) .............................................. 22, 23
                       6
                           Arias v. Dyncorp,
                       7
                                    517 F. Supp. 2d 221 (D.D.C. 2007) ................................................................. 8
                       8
                           Arizona v. United States,
                       9
                                    567 U.S. 387 (2012) ......................................................................................... 8
                    10
                           Asghari v. Volkswagen Grp. of Am., Inc.,
                    11
                                    42 F. Supp. 3d 1306 (C.D. Cal. 2013)............................................................ 21
                    12
                           Ashcroft v. Iqbal,
                    13
                                    556 U.S. 662 (2009) ....................................................................................... 15
                    14
                           Bates v. Dow Agrosciences LLC,
                    15
                                    544 U.S. 431 (2005) ............................................................................. 6, 7, 8, 9
                    16
                           Bell Atlantic Corp. v. Twombly,
                    17
                                    550 U.S. 544 (2007) ....................................................................................... 15
                    18
                           Cel-Tech Comm. Inc. v. L.A. Cellular Tel. Co.,
                    19
                                    20 Cal. 4th 163 (Cal. 1999) ................................................................ 14, 15, 16
                    20
                           Chemical Specialties Manufacturers Association, Inc. v. Allenby,
                    21
                                    958 F.2d 941 (9th Cir. 1992) ................................................................ 2, 3, 4, 5
                    22
                           Cipollone v. Liggett Grp.,
                    23
                                    505 U.S. 504 (1992) ..................................................................................... 3, 7
                    24
                           Cooper v. Pickett,
                    25
                                    137 F.3d 616 (9th Cir. 1997) .......................................................................... 19
                    26
                           Cordes v. Boulder Brands USA, Inc.,
                    27
                                    2018 WL 6714323 (C.D. Cal. Oct. 17, 2018) ................................................ 22
                    28
U M BERG Z I PSER   LLP    {195359.1}                                                 i
  ATTO RNEY S AT LAW
        IRVINE


                                                                                                 2:19-CV-06780-FMO-AS
                                                       HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 5 of 30 Page ID #:1041



                       1   Davidson v. Apple, Inc.,
                       2            2017 WL 976048 (N.D. Cal. Mar. 14, 2017) ................................................. 19
                       3   Davidson v. Kimberly-Clark Corp.,
                       4            889 F.3d 956 (9th Cir. 2018) .............................................................. 21, 22, 23
                       5   Dorfman v. Nutramax Labs., Inc.,
                       6            2013 WL 5353043 (S.D. Cal. Sept. 23, 2013) ......................................... 11, 12
                       7   Dow Agrosciences LLC v. Bates,
                       8            332 F.3d 323 (5th Cir. 2003) ............................................................................ 9
                       9   Eisen v. Porsche Cars N. Am., Inc.,
                    10              2012 WL 841019 (C.D. Cal. Feb. 22, 2012) .................................................. 21
                    11     Ferebee v. Chevron Chem. Co.,
                    12              736 F.2d 1529 (D.C. Cir. 1984) ....................................................................... 7
                    13     Geier v. Am. Honda Motor Co.,
                    14              529 U.S. 861 (2000) ......................................................................................... 8
                    15     Glenn K. Jackson Inc. v. Roe,
                    16              273 F.3d 1192 (9th Cir. 2001) ........................................................................ 15
                    17     Hakakha v. CitiMortgage, Inc.,
                    18              2015 WL 4873561 (C.D. Cal. Aug. 13, 2015) ............................................... 18
                    19     Harris v. R.J. Reynolds Vapor Co.,
                    20              2017 WL 3617061 (N.D. Cal. Aug. 23, 2017)......................................... 15, 17
                    21     Herron v. Best Buy Co. Inc.,
                    22              924 F. Supp. 2d 1161 (E.D. Cal. 2013) .......................................................... 12
                    23     In re Hydroxycut Mtg. & Sales Practices Litig.,
                    24              801 F. Supp. 2d 993 (S.D. Cal. 2011) ................................................ 10, 12, 13
                    25     In re Jamster,
                    26              2009 WL 1456632 (S.D. Cal. May 22, 2009) ................................................ 11
                    27     In re NJOY, Inc. Consumer Class Action Litig.,
                    28
U M BERG Z I PSER   LLP    {195359.1}                                                ii
  ATTO RNEY S AT LAW
        IRVINE


                                                                                                 2:19-CV-06780-FMO-AS
                                                       HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 6 of 30 Page ID #:1042



                       1            2014 WL 12586074 (C.D. Cal. Oct. 20, 2014) .............................................. 19
                       2   Jackson v. Gen. Mills, Inc.,
                       3            2019 WL 4599845 (S.D. Cal. Sept. 23, 2019) ............................................... 23
                       4   Kearns v. Ford Motor Co.,
                       5            567 F.3d 1120 (9th Cir. 2009) ........................................................................ 19
                       6   Lanovaz v. Twinings N. Am., Inc.,
                       7            726 F. App’x 590 (9th Cir. 2018)................................................................... 22
                       8   Lilly v. Jamba Juice,
                       9            2015 WL 1248027 (N.D. Cal. Mar. 18, 2015) ......................................... 21, 22
                    10     Loomis v. Slendertone Distribution, Inc.,
                    11              2019 WL 5790136 (S.D. Cal. Nov. 6, 2019) ................................................. 22
                    12     Marolda v. Symantec Corp.,
                    13              672 F. Supp. 2d 992 (N.D. Cal. 2009) ........................................................... 19
                    14     Matic v. U.S. Nutrition, Inc.,
                    15              2019 WL 3084335 (C.D. Cal. Mar. 27, 2019) ......................................... 22, 23
                    16     Merck Sharpe & Dohme v. Albrecht,
                    17              139 S. Ct. 1668 (2019) ..................................................................................... 7
                    18     Min Shook Shin v. Umeken USA, Inc.,
                    19              773 F.App’x 373 (9th Cir. June 3, 2019) ....................................................... 22
                    20     Nat’l Ass’n of Wheat Growers v. Zeise,
                    21              309 F. Supp. 3d 842 (E.D. Cal. 2018) ...................................................... 14, 18
                    22     New York State Pesticide Coalition, Inc. v. Jorling,
                    23              874 F.2d 115 (2d Cir. 1989) ............................................................................. 5
                    24     Oestreicher v. Alienware Corp.,
                    25              544 F. Supp. 2d 964 (N.D. Cal. 2008) ........................................................... 21
                    26     Papas v. Upjohn Co.,
                    27              985 F.2d 516 (11th Cir. 1993) ...................................................................... 3, 4
                    28
U M BERG Z I PSER   LLP    {195359.1}                                                iii
  ATTO RNEY S AT LAW
        IRVINE


                                                                                                 2:19-CV-06780-FMO-AS
                                                       HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 7 of 30 Page ID #:1043



                       1   Riegel v. Medtronic, Inc.,
                       2            552 U.S. 312 (2008) ..................................................................................... 6, 7
                       3   Sciortino v. Pepsico, Inc.,
                       4            108 F. Supp. 3d 780 (N.D. Cal. 2015) ..................................................... 16, 17
                       5   Soto v. Superior Telecomm. Inc.,
                       6            2011 WL 6325906 (S.D. Cal. Dec. 15, 2011) ................................................ 12
                       7   Stamps v. Collagen Corp.,
                       8            984 F.2d 1416 (5th Cir. 1993) .......................................................................... 7
                       9   Tait v. BSH Home Appliances Corp.,
                    10              2011 WL 1832941 (C.D. Cal. May 12, 2011) ............................................... 19
                    11     Taylor AG Industries v. Pure-Gro,
                    12              54 F.3d 555 (9th Cir. 1995) .............................................................. 2, 3, 4, 5, 7
                    13     Terteryan v. Med. Depot, Inc.,
                    14              2017 WL 5665006 (C.D. Cal. May 18, 2017) ............................................... 20
                    15     Waldrup v. Countrywide Fin. Corp.,
                    16              2014 WL 3715131 (C.D. Cal. July 23, 2014). ............................................... 20
                    17     Wyeth v. Levine,
                    18              555 U.S. 555 (2009) ......................................................................................... 8
                    19     Zucco Partners, LLC v. Digimarc Corp.,
                    20           552 F.3d 981 (9th Cir. 2009) ............................................................................ 9
                    21     Statutes
                    22     322 F. App'x 489....................................................................................................... 25
                    23     7 U.S.C. § 136a(c)(1)(D) .......................................................................................... 12
                    24     7 U.S.C. § 136j(a)(1)(B) ............................................................................................. 7
                    25     7 U.S.C. §§ 136j(a)(1)(E) ......................................................................................... 10
                    26
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                                                 iv
  ATTO RNEY S AT LAW
        IRVINE


                                                                                                 2:19-CV-06780-FMO-AS
                                                       HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 8 of 30 Page ID #:1044



   1
                                        I. INTRODUCTION
   2
                Plaintiff’s Opposition to Home Depot’s Motion to Dismiss (“Opposition”)
   3
       demonstrates why the Court should grant Home Depot’s Motion.
   4
                First, Plaintiff’s argument that he can plead around FIFRA’s express
   5
       preemption provision by basing his claim on Home Depot’s alleged “omission” of
   6
       point-of-sale warnings is foreclosed by controlling Ninth Circuit precedent holding
   7
       that such claims necessarily and impermissibly challenge the adequacy of the
   8
       products’ EPA-approved labeling and packaging. The warning Plaintiff argues
   9
       California law requires is not only inconsistent with the EPA-approved labeling, but
  10
       the EPA has also expressly concluded that it is false and misleading, cannot be
  11
       included on the product label, and would render the products “misbranded” in
  12
       violation of federal law. Stowell Decl. Exs. A-F (Dkt. No. 21-3-8).
  13
                Second, Plaintiff’s argument that impossibility preemption is unavailable in
  14
       the FIFRA context is inconsistent with well-established Supreme Court and Ninth
  15
       Circuit law holding that the existence of an express preemption provision does not
  16
       impact the operation of implied preemption principles. See, e.g., Nathan Kimmel,
  17
       Inc. v. DowElanco, 275 F.3d 1199, 1204 (9th Cir. 2002).
  18
                Third, Plaintiff’s attempt to distinguish the case law with respect to retailer
  19
       liability under the UCL fails because Plaintiff relies on cases alleging that retailers
  20
       either (i) had actual notice from the Federal Trade Commission that the product’s
  21
       packaging was deceptive or (ii) made their own affirmative misrepresentations
  22
       about the product. Plaintiff’s Complaint contains no such allegations, and thus
  23
       Home Depot cannot be liable under the UCL for simply selling Roundup.
  24
                Fourth, Plaintiff fails to explain why his claim does not arise under
  25
       Proposition 65, and offers no defensible basis to impose a cancer warning in this
  26
       case when there is an existing statewide injunction preventing such a warning.
  27
  28
       {195359.1}                                  1
                                                                       2:19-CV-06780-FMO-AS
                             HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
            Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 9 of 30 Page ID #:1045



                       1            Fifth, Plaintiff’s argument that he has complied with Rule 9(b) fails because
                       2   the Complaint does not allege (i) what materials Plaintiff relied on (if any) in
                       3   connection with buying Roundup; and (ii) when Plaintiff contends Home Depot
                       4   became aware of Roundup’s alleged dangers.
                       5            Finally, Plaintiff offers no legal or factual support for his contention that he
                       6   has Article III standing to seek injunctive relief. Indeed, Plaintiff does not even
                       7   respond substantively to Home Depot’s argument that there is no reasonable
                       8   possibility that he will be deceived about glyphosate’s carcinogenicity in the future.
                       9                                      II. ARGUMENT
                    10     A.       Plaintiff’s Claim Is Expressly Preempted By FIFRA.
                    11
                                   1.    Plaintiff cannot plead around FIFRA’s bar on additional state-law
                    12                   requirements for labeling.
                    13
                                    Relying primarily on Chemical Specialties Manufacturers Association, Inc.
                    14
                           v. Allenby, 958 F.2d 941, 946 (9th Cir. 1992), Plaintiff tries to avoid FIFRA’s
                    15
                           express preemption provision by arguing that his claims are based not on the EPA-
                    16
                           approved product labels but on Home Depot’s failure to include point-of-sale
                    17
                           warnings, which are not “attached to the immediate container of a product” and do
                    18
                           not “accompany the product during the period of use.” Opposition to Motion to
                    19
                           Dismiss (Dkt. No. 35) (“Opp.”) at 8 (quoting Allenby, 958 F.2d at 946). Plaintiff’s
                    20
                           argument is inconsistent with controlling Ninth Circuit precedent, misconstrues
                    21
                           Allenby, and would render superfluous the statutory preemption of state labeling
                    22
                           requirements that differ from FIFRA’s requirements.
                    23
                                          a.     The Ninth Circuit has rejected Plaintiff’s argument based on
                    24
                                                 Allenby.
                    25
                    26              Plaintiff’s interpretation of Allenby is foreclosed by the Ninth Circuit’s

                    27     decision in Taylor AG Industries v. Pure-Gro, 54 F.3d 555 (9th Cir. 1995). In

                    28
U M BERG Z I PSER   LLP    {195359.1}                                   2
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 10 of 30 Page ID #:1046



                       1   Taylor, the plaintiffs brought state-law claims alleging that EPA-approved product
                       2   labels failed to warn them of the hazards of pesticides they purchased and that the
                       3   defendant should be liable, in part, for its failure to warn of these hazards in “point-
                       4   of-sale warnings.” Id. at 561. Like Plaintiff here, the plaintiff in Taylor argued that
                       5   Allenby held that “FIFRA does not preempt point-of-sale warnings” and thus
                       6   foreclosed the defendant’s preemption arguments. Id. at 561 n.2.
                       7            The Ninth Circuit rejected this argument. Taylor held that Allenby does not
                       8   apply in the context of private lawsuits—like this case—asserting liability for the
                       9   omission of point-of-sale warnings. Id. at 561 & n.2 (citing Papas v. Upjohn Co.,
                    10     985 F.2d 516, 519 (11th Cir. 1993)). Taylor also squarely held that a claim for
                    11     “inadequate point-of-sale warnings” was preempted by FIFRA.1 Id. The Court
                    12     explained that the plaintiffs’ claim “boil[ed] down to a claim” that defendants had
                    13     “inadequately warned of the hazards” of the pesticides at issue, and thus
                    14     “necessarily challenge[d] the adequacy of the warnings provided on the product’s
                    15     labeling or packaging.” Id. at 561 (quoting Papas, 985 F.2d at 519); see also Papas,
                    16     985 F.2d at 519.
                    17              Taylor’s analysis applies equally to this case. Plaintiff’s original complaint
                    18     squarely asserted that liability hinges on allegedly inadequate warnings on the
                    19     product labels. Complaint (Dkt. No. 1) ¶¶ 17-19, 91. But even after his transparent
                    20     attempt to plead around preemption in his amended complaint, Plaintiff’s theory is
                    21     that point-of-sale warnings are required only because he believes the EPA-approved
                    22     product labels “give the false impression” that there is no cancer risk associated
                    23
                              1
                    24         Between Allenby and Taylor, the Supreme Court issued its opinion in Cipollone
                           v. Liggett Grp., 505 U.S. 504 (1992), which held that the term “requirement” in the
                    25     Public Health Cigarette Smoking Act of 1969 “included common-law duties, and
                    26     therefore pre-empted certain tort claims.” Bates v. Dow Agrosciences LLC, 544
                           U.S. 431, 441 (2005) (citing Cipollone); see also id. at 443 (affirming that
                    27     Cipollone’s holding applies equally in the FIFRA context).
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  3
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 11 of 30 Page ID #:1047



                       1   with Roundup. FAC ¶ 19. Indeed, Plaintiff’s amended complaint asserts that the
                       2   Court should impose liability because of Home Depot’s alleged ability to “exert
                       3   pressure on the makers of Roundup to include appropriate health and safety
                       4   warnings” on the product labels. Id. ¶ 84. Thus, just as in Taylor, Plaintiff’s theory
                       5   “boils down” to an allegation that Roundup’s EPA-approved labels are inadequate
                       6   and Home Depot should therefore be liable for selling the products.
                       7            Plaintiff’s argument that Taylor is “distinguishable” because it involved
                       8   claims against manufacturers rather than retailers (Opp. at 9) is inconsistent with
                       9   Taylor itself. As the Ninth Circuit explained, its decision applies equally to
                    10     manufacturers and retailers because “the analysis focuses not on whom the legal
                    11     duty is imposed, but on whether the legal duty constitutes a state law requirement to
                    12     provide information in addition to or different from the label.” Taylor, 54 F.3d at
                    13     561 n.3.
                    14
                                          b.    Plaintiff’s cases are factually inapposite.
                    15
                    16              To the extent Allenby survived Taylor, it is distinguishable. Allenby did not

                    17     involve or contemplate a situation, like this case, in which EPA had expressly

                    18     rejected the warning at issue and concluded that such a warning would constitute

                    19     misbranding under FIFRA. Indeed, Allenby relied on the premise that this set of

                    20     facts would not arise:

                    21              It seems implausible that the EPA would prosecute a company for, in

                    22              essence, complying with Proposition 65… [and] contradictory to assert that

                    23              the EPA will prosecute a company for satisfying the standards developed by

                    24              the EPA but deemed insufficient by the State of California.

                    25     Allenby, 958 F.2d at 947. But that is precisely the situation here. In addition to

                    26     EPA’s consistent conclusions since at least 1991 that glyphosate is not

                    27     carcinogenic, see Mov. Br. at 3-4 (Dkt. 21-1), it confirmed in a letter to registrants

                    28
U M BERG Z I PSER   LLP    {195359.1}                                  4
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 12 of 30 Page ID #:1048



                       1   of glyphosate-based products that a cancer warning for such products would be
                       2   “false and misleading” and constitute “misbranding” under FIFRA. Stowell Decl.
                       3   Ex. B (Dkt. No. 21-4). EPA has therefore ordered manufacturers to remove any
                       4   such warnings not only from “product labels,” but from “any materials considered
                       5   labeling under FIFRA for those products.” Id. Indeed, as EPA reiterated just last
                       6   month in an amicus brief filed in the Ninth Circuit, a cancer warning for
                       7   glyphosate-based products would “warn[] of a cancer risk that, according to EPA’s
                       8   assessment, does not exist” and therefore “constitute[] prohibited misbranding.” See
                       9   Brief of the United States as Amicus Curiae in Support of Monsanto, Monsanto Co.
                    10     v. Hardeman, No. 19-16636, Dkt. No. 32 (“EPA Hardeman Br.”) at 10.
                    11              The Second Circuit’s decision in New York State Pesticide Coalition, Inc. v.
                    12     Jorling, 874 F.2d 115 (2d Cir. 1989), on which Allenby relied, also does not support
                    13     Plaintiff’s position. The “signs” at issue in Jorling were not point-of-sale warnings
                    14     addressed to users of the pesticide, but were posted “on the perimeter of [a property
                    15     treated with pesticides] warning people not to enter the premises for a specified
                    16     number of hours.” Allenby, 958 F.2d at 946 (citing Jorling, 874 F.2d at 117). This
                    17     distinction was key to the Second Circuit, which held that the signs were not
                    18     labeling because they were not “designed to be read and followed by the end user.”
                    19     Jorling, 874 F.2d at 119 (emphasis added). But here, as in Taylor, Plaintiff’s claim
                    20     is that Home Depot should have warned purchasers of Roundup about their
                    21     supposed cancer risks. Opp. at 5. Thus, unlike in Jorling, the warnings at issue are
                    22     targeted at “end users” of Roundup, not at the public in general. Therefore, even
                    23     putting aside that Taylor is the controlling authority, Plaintiff’s cases are
                    24     distinguishable.
                    25
                    26
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                                 5
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 13 of 30 Page ID #:1049



                       1            2.    Plaintiff’s claim diverges from at least two FIFRA requirements.
                       2
                                    Plaintiff’s claim does not, as he argues in his Opposition, parallel FIFRA’s
                       3
                           misbranding provisions. See Opp. at 10-13. To the contrary, as explained in detail
                       4
                           in Home Depot’s Motion to Dismiss, Plaintiff’s claim would impose a state-law
                       5
                           requirement that diverges from at least two FIFRA requirements, namely its bar on
                       6
                           (i) the sale of an herbicide when any “claims made for it” differ from “the statement
                       7
                           required in connection with its registration under section 136a of this title [i.e., its
                       8
                           approved labeling]” (7 U.S.C. § 136j(a)(1)(B)), and (ii) on “misbranding” (id.
                       9
                           §§ 136j(a)(1)(E); 136(q)(1)(A)).
                    10
                                    Plaintiff’s argument that his state-law claim “parallels requirements imposed
                    11
                           by FIFRA’s misbranding prohibitions” (Opp. at 10) is inconsistent with Supreme
                    12
                           Court precedent. Bates v. Dow Agrosciences LLC recognized that EPA label
                    13
                           approvals have preemptive force and that a state-law claim could survive
                    14
                           preemption only if it were “equivalent to, and fully consistent with, FIFRA’s
                    15
                           misbranding provisions.” 544 U.S. 431, 447 (2005). “Equivalence” is a demanding
                    16
                           standard—for instance, state law may not require a product to be labeled
                    17
                           “DANGER” if EPA determines that the product should have a more-subdued
                    18
                           “CAUTION” warning. Id. at 453. Here, the difference is even more stark—with
                    19
                           Plaintiff suggesting that the product’s label is deficient because it fails to include a
                    20
                           cancer warning that EPA has explicitly rejected.
                    21
                                    Plaintiff also offers no supportable basis to distinguish Riegel v. Medtronic,
                    22
                           Inc., 552 U.S. 312 (2008), which concerned a preemption provision that is
                    23
                           materially identical to FIFRA’s preemption clause. See Bates, 544 U.S. at 447-48.
                    24
                           In Riegel, the Court held that FDA’s premarket approval of a medical device—
                    25
                           which included safety and labeling review—imposed federal “requirements”
                    26
                           specific to that device, thereby preempting any additional or different state-law
                    27
                           requirements. 552 U.S. at 322-23. The same is true here: EPA’s approval of
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  6
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 14 of 30 Page ID #:1050



                       1   Roundup labeling, following an exacting review of glyphosate’s potential health
                       2   risks (including carcinogenicity), triggered specific federal labeling requirements
                       3   that preempt any additional or different state-law requirements. This determination
                       4   is a requirement that “carr[ies] the force of law.” Merck Sharpe & Dohme v.
                       5   Albrecht, 139 S. Ct. 1668, 1679 (2019); see also EPA Hardeman Br. at 1-2 (“Every
                       6   time EPA reviews and approves [a pesticide’s] label,” EPA is “making federal law”
                       7   that is “tailored” to that particular pesticide.).2
                       8            Plaintiff’s reliance on two decisions from the D.C. Circuit to the contrary is
                       9   unavailing. Plaintiff first cites Ferebee v. Chevron Chem. Co., 736 F.2d 1529, 1540
                    10     (D.C. Cir. 1984), a pre-Bates case that held that FIFRA did not preempt any state-
                    11     law cause of action based on inadequate labeling. But the Fifth Circuit explained
                    12     more than 25 years ago that Ferebee is inconsistent with subsequent Supreme Court
                    13     precedent. See Stamps v. Collagen Corp., 984 F.2d 1416, 1424-25 (5th Cir. 1993)
                    14     (“[N]o sound distinction can be drawn between the ‘no requirement or prohibition’
                    15     language found dispositive in Cipollone[, 505 U.S. 504 (1992)] and the express
                    16     preemption of ‘any requirement’ contained in [FIFRA].”).3
                    17
                    18
                    19        2
                                Plaintiff cites Bates for the proposition that an herbicide’s label “can be
                    20     registered by the EPA yet still violate FIFRA by failing to provide adequate
                           warnings.” Opp. at 11. But Bates involved a challenge to labeling claims
                    21     concerning a pesticide’s efficacy, rather than its safety—and, as the Court
                    22     emphasized, EPA had waived its review of all such efficacy-related labeling claims.
                           544 U.S. at 440, 450. Here, by contrast, carcinogenicity is a risk that EPA does
                    23     evaluate under FIFRA. And EPA has repeatedly considered—and rejected—the
                    24     precise warning that Plaintiff claims state law requires. See Mov. Br. at 9-10 (Dkt.
                           21-1); EPA Hardeman Br. at 24. In that respect, this case is directly analogous to
                    25     Riegel.
                    26
                              3
                               Ferebee is also at odds with the later decisions in Taylor and Bates, both of
                    27     which are binding on this Court, and both of which recognized (as discussed above)
                    28     that state-law causes of action can be preempted by EPA’s labeling decisions.
U M BERG Z I PSER   LLP    {195359.1}                                   7
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 15 of 30 Page ID #:1051



                       1            Plaintiff’s reliance on the Arias v. Dyncorp, 517 F. Supp. 2d 221, 229
                       2   (D.D.C. 2007), is even less apt. Arias did not involve EPA action at all, but rather a
                       3   statement by the State Department about the safety of the pesticide at issue. Id. This
                       4   case involves EPA’s registration and labeling decisions—a function expressly
                       5   delegated to EPA by Congress. See Bates, 544 U.S. at 437-49 (summarizing
                       6   FIFRA’s history and EPA’s role). And EPA has not only repeatedly determined
                       7   that glyphosate-based products do not cause cancer and do not require a cancer
                       8   warning, it has explicitly concluded that a cancer warning would constitute
                       9   misbranding under FIFRA. See Stowell Decl. Ex. B at 1 (Dkt. No. 21-4); EPA
                    10     Hardeman Br. at 10, 18. Adding a cancer warning at the point of sale would thus
                    11     violate FIFRA’s bar on “misbranding” (7 U.S.C. §§ 136j(a)(1)(E); 136(q)(1)(A))
                    12     and its bar on selling an herbicide when the “claims made for it” differ from its
                    13     approved label (id. § 136j(a)(1)(B)). Plaintiff’s claims are thus contrary to FIFRA’s
                    14     labeling requirements, and they are expressly preempted.
                    15
                           B.       Plaintiff’s Arguments that Impossibility Preemption Is Inapplicable in
                    16              the FIFRA Context and that Home Depot Fails the Wyeth Standard are
                                    Legally and Factually Incorrect.
                    17
                    18              Plaintiff argues that Bates implicitly held that impossibility preemption does
                    19     not apply in the FIFRA context and that, even if impossibility preemption is
                    20     applicable, Home Depot fails the “clear evidence” standard under Wyeth v. Levine,
                    21     555 U.S. 555, 568 (2009). Opp. at 13-14. Plaintiff is wrong on both counts.
                    22              First, both the Supreme Court and Ninth Circuit have held that “the existence
                    23     of an ‘express preemption provisio[n] does not bar the ordinary working of conflict
                    24     preemption principles’ or impose a ‘special burden’ that would make it more
                    25     difficult to establish the preemption of laws falling outside the clause.” Arizona v.
                    26     United States, 567 U.S. 387, 406 (2012) (quoting Geier v. Am. Honda Motor Co.,
                    27     529 U.S. 861, 869-872 (2000)); DowElanco, 275 F.3d at 1204 (implied preemption
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  8
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 16 of 30 Page ID #:1052



                       1   can apply “even when Congress has chosen to include an express preemption clause
                       2   in a statute”). The only question decided by the Fifth Circuit in Bates was whether
                       3   the plaintiff’s claims were “within [the] scope of FIFRA’s express preemption
                       4   clause.” See Dow Agrosciences LLC v. Bates, 332 F.3d 323, 329 (5th Cir. 2003)
                       5   (emphasis in original), vacated, 544 U.S. 431. Similarly, the scope of FIFRA’s
                       6   express preemption provision was the only question resolved by the Supreme
                       7   Court, which did not cite or rely on principles of conflict preemption. See 544 U.S.
                       8   at 440-441. There is thus no basis to conclude that Bates displaced the established
                       9   Supreme Court and Ninth Circuit law that implied preemption principles apply
                    10     even when Congress includes an express preemption provision.
                    11              Second, Plaintiff is mistaken in arguing that there is no clear evidence that
                    12     EPA would reject the warning Plaintiff seeks because “EPA is not ‘fully informed’
                    13     as to Roundup’s potential carcinogenicity and has not reached a determination”
                    14     about the carcinogenicity of the formulated product. Opp. at 14. The warning
                    15     Plaintiff seeks in his complaint is based on the alleged carcinogenicity of
                    16     glyphosate, not the formulated product. See FAC ¶ 89 (seeking order “requiring
                    17     Defendant to notify consumers at the point of sale . . . that the glyphosate in
                    18     Roundup has been linked to cancer in humans”). Plaintiff does not and cannot argue
                    19     that EPA is not “fully informed” about the supposed carcinogenicity of glyphosate,
                    20     and thus all but concedes that his claim is barred by impossibility preemption.4
                    21
                              4
                    22         The Court should also reject Plaintiff’s alternative request for leave to amend to
                           include “allegations regarding the genotoxic properties of the surfactants contained
                    23     in Roundup,” because such an amendment would be futile. See Zucco Partners,
                    24     LLC v. Digimarc Corp., 552 F.3d 981, 1007 (9th Cir. 2009). EPA has repeatedly
                           registered Roundup products pursuant to FIFRA and in doing so has been fully
                    25     informed about any potential carcinogenicity of the product. EPA reviews and
                    26     approves “the complete formula” of the product, including both active and “inert”
                           ingredients. 7 U.S.C. § 136a(c)(1)(D); Stowell Decl. Ex. F at 10 (Dkt. No. 21-8).
                    27     EPA has thus assessed the toxicity of inert ingredients contained in Roundup
                    28     products “at multiple points over the years for different formulations of glyphosate”
U M BERG Z I PSER   LLP    {195359.1}                                 9
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 17 of 30 Page ID #:1053



                       1   C.       Home Depot Cannot Be Liable Under the UCL Because Plaintiff Admits
                                    that Home Depot Did Not Participate In, Control, or Adopt the Alleged
                       2            Unlawful Practices.
                       3
                                    Plaintiff argues that Home Depot is liable under the UCL because it sold
                       4
                           Roundup despite its alleged awareness of Roundup’s danger to consumers. But the
                       5
                           cases on which Plaintiff relies are inapposite because they involved retailers that
                       6
                           either (i) received actual notice of the manufacturer’s deceptive labeling or
                       7
                           packaging or (ii) made their own misleading representations regarding a product.
                       8
                           Plaintiff does not and cannot make any such allegations as to Home Depot, and thus
                       9
                           offers no principled basis to distinguish this case from the cases cited in Home
                    10
                           Depot’s Motion. See, e.g., In re Hydroxycut Mtg. & Sales Practices Litig., 801 F.
                    11
                           Supp. 2d 993, 1012 (S.D. Cal. 2011).
                    12
                                    Plaintiff’s heavy reliance on Adams v. Target Corp., 2014 WL 12558290
                    13
                           (C.D. Cal. Mar. 3, 2014), is misplaced. The plaintiff in Adams alleged that Target
                    14
                           sold waterslides and pools in packaging that included misleading images that
                    15
                           misrepresented the products’ size and water pressure. Adams, 2014 WL 12558290,
                    16
                           at *1. Importantly, Target continued to sell the products even after receiving a
                    17
                           letter from the Federal Trade Commission (“FTC”) concluding that the images on
                    18
                           the product’s packaging were misleading and likely to cause consumer confusion.
                    19
                           Id. This FTC letter was key to Adams’s analysis, which acknowledged the principle
                    20
                           that merely selling falsely-advertised products does not subject a retailer to liability,
                    21
                           but concluded that these cases were distinguishable because Target’s receipt of the
                    22
                           FTC letter constituted “actual notice that the manufacturer’s packaging was
                    23
                           deceptive.” Id. at *5 (citing Hydroxycut).
                    24
                    25
                    26
                           (Dkt. No. 21-8 at 10) and has repeatedly determined that no cancer warning is
                    27     warranted.
                    28
U M BERG Z I PSER   LLP    {195359.1}                                 10
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 18 of 30 Page ID #:1054



                       1            Unlike Adams, there are no allegations here that Home Depot received any
                       2   notice—let alone “actual notice” from a federal agency—that Roundup is
                       3   deceptively labeled. See generally FAC. Indeed, the opposite set of facts applies
                       4   here: EPA (a federal agency) has determined that Roundup’s product labels are not
                       5   false or misleading, has repeatedly concluded that a cancer warning is not required
                       6   or appropriate, and has publicly announced that adding a cancer warning to
                       7   Roundup would constitute “misbranding” under federal law.5 See, e.g., Stowell
                       8   Decl. Exs. A-F (Dkt. No. 21-3-8).
                       9            Nor do the references in Plaintiff’s complaint to certain scientific studies
                    10     regarding glyphosate, actions taken by other countries regarding Roundup, or recent
                    11     jury verdicts regarding Roundup allege the type of “actual notice” that was present
                    12     in Adams. Id. ¶¶ 20-51. Plaintiff does not allege when (if ever) Home Depot learned
                    13     of these facts. And even if he did, that would not constitute actual notice that the
                    14     product was deceptively labeled—particularly given EPA’s explicit determinations
                    15     that Roundup products are appropriately labeled and do not pose a cancer risk. See
                    16     In re Jamster, 2009 WL 1456632, at *8 (S.D. Cal. May 22, 2009) (dismissing UCL
                    17     claims against wireless providers because plaintiffs’ conclusory allegations that the
                    18     wireless providers knew about the deceptive marketing of content providers were
                    19     “insufficient to show that Wireless Providers controlled, participated, approved,
                    20     marketed or otherwise adopted Content Providers’ advertising practices”).
                    21              Plaintiff’s other attempts to distinguish the cases cited in Home Depot’s
                    22     Motion are equally meritless. In Dorfman v. Nutramax Labs., Inc., No. 13CV0873
                    23     WQH RBB, 2013 WL 5353043 (S.D. Cal. Sept. 23, 2013), the complaint alleged
                    24     that the retailer defendants made their own affirmative misrepresentations about the
                    25
                    26
                              5
                               If anything, the requirements for “actual notice” should be higher in the context
                           of products like Roundup, whose labels are subject to review and preapproval by a
                    27     federal agency before they can be sold.
                    28
U M BERG Z I PSER   LLP    {195359.1}                                11
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 19 of 30 Page ID #:1055



                       1   subject product, including “statements on [their] website[s] that repeat and reinforce
                       2   the false and misleading joint health statements made on the packaging and
                       3   labeling.” Dorfman, 2013 WL 5353043, at *14.6 Similarly, in Herron v. Best Buy
                       4   Co. Inc., 924 F. Supp. 2d 1161, 1169 (E.D. Cal. 2013), the plaintiff alleged that the
                       5   retailer (Best Buy) made its own affirmative misrepresentations regarding the
                       6   product. Herron, 924 F. Supp. 2d at 1167. Specifically, plaintiff alleged that Best
                       7   Buy made statements on its website and on product labels regarding a laptop’s
                       8   battery life which falsely portrayed the battery testing results that the manufacturer
                       9   had sent to Best Buy. Id. Here, unlike in Dorfman and Herron, Plaintiff alleges no
                    10     affirmative misrepresentations by Home Depot. See generally FAC.
                    11              Plaintiff’s citation to Soto v. Superior Telecommunications, Inc., 2011 WL
                    12     6325906 (S.D. Cal. Dec. 15, 2011) appears to have been made in error. Although
                    13     Plaintiff provides a parenthetical stating that the court in Soto certified a consumer
                    14     class in a UCL action against a retail seller of prepaid calling cards (Opp. at 17),
                    15     this is incorrect. To the contrary, the retailers in Soto were dismissed from that case
                    16     prior to class certification. See Soto, 2011 WL 6325906, at *1.
                    17              Despite his efforts, Plaintiff fails to distinguish this case from In re
                    18     Hydroxycut Mtg. & Sales Practices Litig., 801 F. Supp. 2d 993, 1012 (S.D. Cal.
                    19     2011). Plaintiff claims that this case is different from In re Hydroxycut because
                    20     Home Depot sold Roundup “despite its knowledge it is potentially carcinogenic.”
                    21     Opp. at 18. But the plaintiffs in In re Hydroxycut made the same allegation. See In
                    22     re Hydroxycut, First Consolidated Amended Class Action Complaint, Case 3:09-
                    23     md-02087-BTM-KSC, Dkt. 28 at ¶ 99 (“As [. . .] retailers of the Products,
                    24
                    25        6
                               For instance, the complaint in Dorman alleged that defendant Rite-Aid made
                    26     misleading advertising statements about the subject product on its website such as
                           “No. 1 brand recommended by orthopedic specialists” and “helps your joints last
                    27     longer.” See Dorfman, Class Action Complaint, Case No. 3:13-cv-00873-WQH-
                    28     RBB, Dkt. 1 at ¶ 32.
U M BERG Z I PSER   LLP    {195359.1}                                12
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 20 of 30 Page ID #:1056



                       1   Defendants possess specialized knowledge regarding the content and effects of the
                       2   ingredients contained in the Products…. As a result, Defendants knew, or should
                       3   have known, that their efficacy and safety representations and failure to warn of the
                       4   adverse health risks associated with consumption of their Products were false,
                       5   misleading and/or deceptive.”). Plaintiff has not identified any reasons why the
                       6   facts of this case are different than In re Hydroxycut.
                       7            This Court should follow the reasoning in In re Hydroxycut and dismiss
                       8   Plaintiff’s claims because the Complaint fails to allege facts showing that (i) Home
                       9   Depot participated in, controlled, or adopted as its own, representations made by
                    10     Roundup’s manufacturer, or (ii) made its own representations that Plaintiff relied
                    11     on in connection with purchasing Roundup. See In re Hydroxycut, 801 F. Supp. 2d
                    12     at 1013. 7
                    13
                    14
                    15
                    16
                    17
                    18
                    19        7
                                Plaintiff mischaracterizes Home Depot’s position with respect to retailer
                    20     liability. Home Depot does not contend that it enjoys “absolute immunity as a
                           retailer.” Opp. at 19. Rather, Home Depot contends that it is not liable here based
                    21     upon the factual allegations in the Complaint. In addition, Plaintiff’s argument that
                    22     Home Depot’s motion “does not evaluate Plaintiff’s claims using any test” for
                           unfairness under the UCL (Opp. at 16) is inapposite. The particular unfairness test
                    23     that would be applied is immaterial here because regardless of what test might
                    24     ultimately be applied, the Complaint fails to state a claim against Home Depot in
                           the first instance. Plaintiff’s argument that the “Court has broad discretion to
                    25     fashion an equitable remedy, and exactly what the remedy looks like need not be
                    26     decided at the pleadings stage” (Opp. at 2) is also a red herring because the type of
                           injunctive relief Plaintiff may ultimately be entitled to is irrelevant to the issue of
                    27     whether Plaintiff has stated a claim for relief in the first instance.
                    28
U M BERG Z I PSER   LLP    {195359.1}                                13
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 21 of 30 Page ID #:1057



                       1   D.       Plaintiff’s Claim Is Substantively a Proposition 65 Claim, and Is Thus
                                    Barred By His Failure to Comply With Proposition 65’s Notice
                       2            Requirements and a Current Injunction Preventing Enforcement of a
                       3            Proposition 65 Warning for Glyphosate.
                       4
                                    Plaintiff argues that his claim does not arise under Proposition 65 because his
                       5
                           Complaint “expressly disclaims any violation of Proposition 65” and because his
                       6
                           Complaint “asserts Home Depot has an obligation to inform consumers that is
                       7
                           independent of Proposition 65’s requirements.” Opp. at 20. Plaintiff also argues that
                       8
                           his claim is not enjoined by the injunction in Nat’l Ass’n of Wheat Growers v.
                       9
                           Zeise, 309 F. Supp. 3d 842 (E.D. Cal. 2018) because the Complaint “does not seek
                    10
                           to enforce Proposition 65.” Opp. at 22. Neither of these attempts to bypass the
                    11
                           requirements of Proposition 65 are plausible. Plaintiff’s claims clearly relate to the
                    12
                           allegedly carcinogenic properties of glyphosate (and thus arise under Proposition
                    13
                           65), and his proposed remedy would consequently run afoul of the Wheat Growers
                    14
                           injunction.
                    15
                                   1.    Despite Plaintiff’s conclusory assertions to the contrary, his claim
                    16                   arises under Proposition 65.
                    17
                                    As Home Depot discussed in its initial brief, the California Supreme Court
                    18
                           has held that parties cannot avoid specific statutory rules governing their claims by
                    19
                           framing their claims under more general statutes. Cel-Tech Communications, Inc. v.
                    20
                           L.A. Cellular Tel. Co., 20 Cal. 4th 163, 183 (Cal. 1999). Specifically, Cel-Tech held
                    21
                           that where the legislature has expressly concluded that no action should lie, a
                    22
                           plaintiff cannot use the UCL to “‘plead around’” an “‘absolute bar to relief.’” Cel-
                    23
                           Tech, 20 Cal. 4th at 182 (1999). Plaintiff offers no persuasive reason why his
                    24
                           Complaint, which seeks a warning analogous to the warnings required by
                    25
                           Proposition 65 but does not comply with Proposition 65’s requirements, does not
                    26
                           violate the rule in Cel-Tech.
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  14
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 22 of 30 Page ID #:1058



                       1            Plaintiff’s primary argument is that his claim is not derivative of Proposition
                       2   65 solely because his complaint includes a conclusory allegation that his claims
                       3   “do[] not arise under Proposition 65, nor … seek to vindicate a right created by
                       4   Proposition 65” (Opp. 19-20). As an initial matter, this self-serving allegation is
                       5   nothing more than an unsupported legal conclusion, which the Court should
                       6   disregard. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (courts “are not bound to
                       7   accept as true a legal conclusion couched as a factual allegation”) (citing Bell
                       8   Atlantic Corp. v. Twombly, 550 U.S. 544, 555-56 (2007)).
                       9            In addition, if this argument were accepted, it would render the Cel-Tech rule
                    10     a nullity. If plaintiffs could avoid the Cel-Tech rule simply by stating that they are
                    11     not seeking to impose liability under the more specific statute, the rule would have
                    12     no effect—a plaintiff could simply include a conclusory allegation in their
                    13     complaint that their claims do not arise under the more specific statute. Courts have
                    14     thus repeatedly rejected efforts by Plaintiff to “plead around” the Cel-Tech rule. See
                    15     Harris v. R.J. Reynolds Vapor Co., No. 15-CV-04075-JD, 2017 WL 3617061, at *2
                    16     (N.D. Cal. Aug. 23, 2017) (“In an apparent response to the prior dismissal order,
                    17     [Plaintiff] insists that the [second amended complaint] does not rely in any way on
                    18     Proposition 65 for the existence of the duty, but the allegations continue to
                    19     highlight the lack of carcinogen warnings on [defendant]’s products [. . .] This
                    20     effectively recasts violations of Proposition 65 as violations of the UCL or CLRA,
                    21     which the Court has already determined will not do.”); Glenn K. Jackson Inc. v.
                    22     Roe, 273 F.3d 1192, 1203 (9th Cir. 2001) (“the breadth of [the UCL] does not give
                    23     a plaintiff license to “plead around” the absolute bars to relief contained in other
                    24
                    25
                    26
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  15
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 23 of 30 Page ID #:1059



                       1   possible causes of action by recasting those causes of action as ones for unfair
                       2   competition”).8
                       3            Moreover, Plaintiff’s assertion that Home Depot has an obligation to inform
                       4   consumers that is “independent of Proposition 65’s requirements” is simply false.
                       5   Indeed, Plaintiff’s factual allegations in support of Home Depot’s alleged duty to
                       6   warn consumers about glyphosate are the exact same facts that would support a
                       7   Proposition 65 claim (i.e., the IARC’s classification of glyphosate and the
                       8   corresponding addition of glyphosate to California’s Proposition 65 list). Plaintiff
                       9   cannot invoke the UCL to seek more disclosure about an alleged carcinogen than is
                    10     required by Proposition 65 because Proposition 65 governs when disclosure is
                    11     required and what language is sufficient to make any required disclosure. See
                    12     generally Proposition 65 (codified at Cal. Health & Safety Code §§ 25249.5-
                    13     25249.14).
                    14              While Plaintiff relies on Sciortino v. Pepsico, Inc., 108 F. Supp. 3d 780, 794
                    15     (N.D. Cal. 2015), Sciortino actually supports Home Depot’s position. The
                    16     complaint that survived in Sciortino related to an affirmative false statement by the
                    17     manufacturer that carcinogens had been removed from the product. Specifically, the
                    18     complaint “alleged that Pepsi misrepresented it had ‘moved immediately to meet
                    19     the new requirements’ on 4–MeI and had ‘roll[ed] out ... changes’ that had been
                    20     completed in California as well as several other states.” 108 F. Supp. 3d at 794. The
                    21     court held that this complaint did not attempt to “plead around” Proposition 65
                    22     because, while “the alleged misstatement is related to Proposition 65, the alleged
                    23     wrong is not a failure to warn under Proposition 65, but rather a separate
                    24     misrepresentation to consumers regarding what actions Pepsi had taken and what
                    25
                    26
                              8
                               Similarly, Plaintiff’s argument that Home Depot “could have stopped selling
                    27     Roundup” (Opp. at 21) is unavailing because plaintiffs would always be able to use
                    28     this argument to violate the rule in Cel-Tech.
U M BERG Z I PSER   LLP    {195359.1}                                 16
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 24 of 30 Page ID #:1060



                       1   levels of 4–MeI were present in the Pepsi Beverages.” Id. The court specifically
                       2   contrasted this with another complaint, which it concluded inappropriately sought
                       3   to plead around Proposition 65 because it “referred to no other alleged
                       4   misstatements” other than the failure to issue a cancer warning for a Proposition-65
                       5   listed chemical. Id. at 793. Here, Plaintiff alleges no affirmative misstatements by
                       6   Home Depot; instead Plaintiff alleges only that Home Depot did not warn
                       7   consumers that Roundup contained a particular alleged carcinogen. See FAC ¶ 89.
                       8   This alleged wrong (i.e., the omission of a cancer warning for a particular chemical)
                       9   is completely derivative of Proposition 65. See Harris, 2017 WL 3617061, at *2. A
                    10     finding that Plaintiff’s claims are derivative of Proposition 65 would therefore be
                    11     consistent with Sciortino.
                    12              Plaintiff’s argument that “it is the Roundup formulation, not just the
                    13     inclusion of glyphosate alone, that renders the product carcinogenic” does not
                    14     change this analysis. Opp. at 21 (stating that “the Roundup formulation contains
                    15     surfactants, like POEA, which are known to [. . .] increase[] the toxicity of
                    16     glyphosate”). The gravamen of Plaintiff’s complaint is that Home Depot did not
                    17     disclose the carcinogenic nature of glyphosate. See, e.g., FAC ¶ 1 (“Glyphosate is
                    18     known to be a Class 2A herbicide”); FAC ¶ 2 (“California has classified the active
                    19     ingredient, glyphosate, as a chemical known to cause cancer”); FAC ¶ 19
                    20     (“glyphosate is known to have links to cancer”). Plaintiff cannot change the nature
                    21     of his Complaint by pointing to a passing allegation about alleged surfactants,
                    22     particularly when he alleges that those surfactants are dangerous only because of
                    23     their effects on glyphosate. Opp. at 21. The court in Harris v. R.J. Reynolds Vapor
                    24     Co. rejected a similar argument by a plaintiff seeking to plead around Proposition
                    25     65. See Harris, 2017 WL 3617061, at *2 (“[Plaintiff] makes no adequate allegation
                    26     about any substances other than formaldehyde or acetaldehyde. The single passing
                    27
                    28
U M BERG Z I PSER   LLP    {195359.1}                               17
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 25 of 30 Page ID #:1061



                       1   reference to ‘high concentrations of ultrafine particles,’ [. . .] is far too cursory to
                       2   state a plausible independent claim under the UCL.”).
                       3             Because Plaintiff’s claim arises under Proposition 65, and because he admits
                       4   that he did not comply with Proposition 65’s notice requirements, Plaintiff’s
                       5   Complaint should be dismissed.
                       6
                                     2.   The injunction in Wheat Growers prevents enforcement of a cancer
                       7                  warning for glyphosate.
                       8
                                     Plaintiff argues that his claim is not enjoined by the injunction in Nat’l Ass’n
                       9
                           of Wheat Growers v. Zeise, 309 F. Supp. 3d 842 (E.D. Cal. 2018) because the
                    10
                           Complaint “does not seek to enforce Proposition 65.” Opp. at 22. However,
                    11
                           Plaintiff’s Complaint substantively does seek to enforce Proposition 65, for the
                    12
                           reasons discussed above.9
                    13
                           E.        Plaintiff Has Not Pleaded His Claim with the Particularity Required by
                    14
                                     Fed. R. Civ. P. 9(b).
                    15
                    16               Plaintiff does not dispute that Rule 9(b)’s heightened pleading requirements

                    17     apply to his fraud-based UCL claim. Opp. at 22. Instead, he argues that these

                    18     heightened requirements are “relaxed” for fraudulent omissions (as opposed to

                    19     affirmative misrepresentations), and that he has met this “relaxed” standard because

                    20     his UCL claim is based on Home Depot’s omissions. Id. at 22-23.10 However,

                    21
                               Plaintiff does not even respond to Home Depot’s argument that allowing this
                                9


                    22     case to proceed would violate Home Depot’s First Amendment right not to be
                           required to publish “false and misleading” warnings. See Wheat Growers, 309 F.
                    23
                           Supp. 3d at 853. When a plaintiff fails to address a defendant’s arguments as to
                    24     why certain claims should be dismissed, courts may construe that failure as
                           “concession that they are valid reasons to dismiss those claims.” Hakakha v.
                    25
                           CitiMortgage, Inc., No. EDCV151320JGBSPX, 2015 WL 4873561, at *8 (C.D.
                    26     Cal. Aug. 13, 2015) (dismissing claims that plaintiff failed to address).
                    27          10
                               Plaintiff’s citations to Miscellaneous Service Workers, etc. v. Philco-Ford
                    28     Corp., WDL Div., 661 F.3d 776, 782 (9th Cir. 1981) (Opp. at 22) and Cooper v.
U M BERG Z I PSER   LLP    {195359.1}                                   18
  ATTO RNEY S AT LAW
        IRVINE


                                                                                            2:19-CV-06780-FMO-AS
                                                  HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 26 of 30 Page ID #:1062



                       1   Plaintiff has not satisfied Rule 9(b) because the Complaint fails to allege (i) what
                       2   materials Plaintiff relied upon (if any) in connection with buying Roundup; and (ii)
                       3   when Plaintiff contends Home Depot became aware of Roundup’s alleged dangers.
                       4            The “contention that ... nondisclosure claims need not be pleaded with
                       5   particularity is unavailing.” Kearns v. Ford Motor Co., 567 F.3d 1120, 1127 (9th
                       6   Cir. 2009). To plead the circumstances of omission with specificity, a plaintiff
                       7   “must describe the content of the omission and where the omitted information
                       8   should or could have been revealed, as well as provide representative samples of
                       9   advertisements, offers, or other representations that plaintiff relied on to make her
                    10     purchase and that failed to include the allegedly omitted information.” Marolda v.
                    11     Symantec Corp., 672 F. Supp. 2d 992, 1002 (N.D. Cal. 2009). Plaintiff has done
                    12     none of these things.
                    13              Courts frequently dismiss omission claims when plaintiffs do not allege the
                    14     materials they reviewed in purchasing a product. See, e.g., In re NJOY, Inc.
                    15     Consumer Class Action Litig., No. CV1400428MMMRZX, 2014 WL 12586074, at
                    16     *13 (C.D. Cal. Oct. 20, 2014) (“plaintiffs fail to allege with particularity that they
                    17     were exposed to any NJOY marketing or packaging that omitted information about
                    18     the ingredients and health effects of NJOY e-cigarettes. For this reason, the
                    19     California plaintiffs’ CLRA and UCL claims based on fraudulent omissions fail to
                    20     satisfy Rule 9(b) and must be dismissed”); Tait v. BSH Home Appliances Corp.,
                    21     No. SACV 10-711 DOC AN, 2011 WL 1832941, at *3 (C.D. Cal. May 12, 2011)
                    22     (“Plaintiffs offer no information regarding when, or even if, each of the named
                    23     Plaintiffs viewed the website and/or operating instructions. Without such facts,
                    24     these conclusory allegations do not come within a county mile of satisfying Rule
                    25     9(b)”); Davidson v. Apple, Inc., No. 16-CV-04942-LHK, 2017 WL 976048, at *9–
                    26
                    27     Pickett, 137 F.3d 616, 627 (9th Cir. 1997) (Opp. at 23) appear to have been made in
                    28     error, because the language Plaintiff quotes does not appear in those opinions.
U M BERG Z I PSER   LLP    {195359.1}                                19
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 27 of 30 Page ID #:1063



                       1   10 (N.D. Cal. Mar. 14, 2017) (dismissing fraudulent omission claims under Rule
                       2   9(b) because “plaintiffs did not allege that they reviewed or were exposed to any
                       3   information, advertisements, labeling, or packaging by Defendant”); Terteryan v.
                       4   Med. Depot, Inc., No. CV 17-2358 DMG (EX), 2017 WL 5665006, at *3 (C.D. Cal.
                       5   May 18, 2017) (dismissing UCL omission claim under Rule 9(b) when Plaintiffs
                       6   failed to “describe samples of representations that Plaintiffs relied upon to make
                       7   their purchase”).
                       8            Likewise, Plaintiff here does not allege that he reviewed any information
                       9   regarding Roundup in connection with purchasing the product. See generally FAC.
                    10     He does not allege that that he reviewed the product’s label, signage in Home
                    11     Depot’s store, any materials on Home Depot’s website, or any Home Depot
                    12     advertisements.11 Id.
                    13              Plaintiff also fails to meet the heightened pleading requirements of Rule 9(b)
                    14     because he does not plead with any particularity that Home Depot had knowledge
                    15     of Roundup’s alleged dangers.12 See generally FAC. His claim that Home Depot
                    16     sold Roundup “despite knowledge that Roundup may cause cancer” (FAC ¶ 2) is
                    17
                              11
                    18
                               Although Plaintiff references Roundup’s label in the Complaint (FAC ¶ 16), he
                           does not allege that he actually reviewed the label in connection with purchasing the
                    19     product.
                    20        12
                                Plaintiff also does not allege with particularity when he purchased Roundup
                    21     from Home Depot. Plaintiff’s vague allegation that he “routinely purchased a
                    22     Roundup Ready-to-Use Weed & Grass Killer III product for a period of time during
                           the Class Period from at least one Home Depot store in Ventura County,
                    23     California” (FAC ¶ 60) is insufficient because it does not identify the specific
                    24     timing or frequency of Plaintiff’s alleged purchases. Plaintiff also does not identify
                           any specific Ventura County Home Depot store from which he bought the product.
                    25     Id. Plaintiff’s allegations therefore do not provide adequate detail to satisfy Rule
                    26     9(b). See Waldrup v. Countrywide Fin. Corp., No. 2:13-CV-08833-CAS, 2014 WL
                           3715131, at *5 (C.D. Cal. July 23, 2014) (dismissing fraudulent omission claim for
                    27     failure to comply with Rule 9(b) because Plaintiff did not “provide an adequate
                    28     amount of detail about the transactions at issue”).
U M BERG Z I PSER   LLP    {195359.1}                                 20
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 28 of 30 Page ID #:1064



                       1   not supported by any specific allegations describing how and when Home Depot
                       2   became aware of Roundup’s alleged dangers. See generally FAC. Thus, Plaintiff’s
                       3   Complaint fails to satisfy 9(b) for this reason as well. See Asghari v. Volkswagen
                       4   Grp. of Am., Inc., 42 F. Supp. 3d 1306, 1327 (C.D. Cal. 2013) (to allege fraudulent
                       5   omission, plaintiff must plead “how and when defendants became aware of the
                       6   purported defect”) (italics added); Oestreicher v. Alienware Corp., 544 F. Supp. 2d
                       7   964, 974 (N.D. Cal. 2008), aff'd, 322 F. App'x 489 (9th Cir. 2009) (dismissing
                       8   conclusory allegation that the manufacturer knew of the alleged defect but failed to
                       9   disclose it to consumers); Eisen v. Porsche Cars N. Am., Inc., No. CV 11-9405
                    10     CAS FEMX, 2012 WL 841019, at *3 (C.D. Cal. Feb. 22, 2012) (dismissing UCL
                    11     fraudulent omission claim when plaintiff did not allege when defendant became
                    12     aware of alleged defect).
                    13
                           F.       Plaintiff Lacks Article III Standing to Seek Injunctive Relief Because He
                    14              Does Not Plead That He Is Likely to Suffer Future Injury.
                    15
                                    Plaintiff argues that he has Article III standing for injunctive relief because
                    16
                           he “has alleged a likelihood of purchasing Roundup from Home Depot in the
                    17
                           future, and may again fall victim to Home Depot’s unfair business practices.” Opp.
                    18
                           at 24. However, Davidson v. Kimberly-Clark Corp., 889 F.3d 956, 967 (9th Cir.
                    19
                           2018) and subsequent case law make clear that Plaintiff lacks standing because he
                    20
                           has not alleged an intention to purchase Roundup in the future and, even if he did,
                    21
                           there is no plausible likelihood of future injury.
                    22
                                    1.    Plaintiff does not allege an intention to purchase Roundup in the
                    23
                                          future.
                    24
                    25              Plaintiff cites Lilly v. Jamba Juice, No. 13-CV-02998-JST, 2015 WL

                    26     1248027, at *5 (N.D. Cal. Mar. 18, 2015) for the proposition that “a willingness to

                    27     consider a future purchase is sufficient” to grant him Article III standing to seek

                    28
U M BERG Z I PSER   LLP    {195359.1}                                  21
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 29 of 30 Page ID #:1065



                       1   injunctive relief. Plaintiff is wrong. His cite to Lilly—a pre-Davidson case—
                       2   mischaracterizes Ninth Circuit case law on Article III standing. Plaintiff does not
                       3   attempt to distinguish the numerous post-Davidson cases Home Depot discussed in
                       4   its initial brief, all of which require the plaintiff to allege that he intends to purchase
                       5   the product at issue in the future. See, e.g. Cordes v. Boulder Brands USA, Inc.,
                       6   2018 WL 6714323, at *4 (C.D. Cal. Oct. 17, 2018); Lanovaz v. Twinings N. Am.,
                       7   Inc., 726 F. App’x 590, 591 (9th Cir. 2018); Min Shook Shin v. Umeken USA, Inc.,
                       8   773 F.App’x 373, at *1 (9th Cir. June 3, 2019); Anthony v. Pharmavite 2019 WL
                       9   109446, at *6 (N.D. Cal. Jan. 4, 2019); Matic v. U.S. Nutrition, Inc., 2019 WL
                    10     3084335, at *8 (C.D. Cal. Mar. 27, 2019).
                    11              These post-Davidson cases confirm that Plaintiff’s allegations speculating he
                    12     might buy Roundup again in the future are insufficient to confer standing. See
                    13     Lanovaz, 726 F. App’x at 591 (plaintiff’s statements that she “would consider”
                    14     buying the products in the future if misleading labels were removed does not satisfy
                    15     standing requirements); see also Loomis v. Slendertone Distribution, Inc., No.
                    16     319CV854MMAKSC, 2019 WL 5790136, at *17 (S.D. Cal. Nov. 6, 2019)
                    17     (plaintiff’s allegation that she “would consider” purchasing a device again in the
                    18     future was insufficient to state a plausible claim for injunctive relief).
                    19              Indeed, this case is even clearer than Lanovaz or Loomis. Plaintiff’s
                    20     allegations show that there is no reasonable possibility that he will be injured in the
                    21     future absent injunctive relief, because he affirmatively alleges that he will not
                    22     purchase the Roundup products if Home Depot does not include a cancer warning
                    23     at the point of sale. FAC ¶ 64.
                    24
                                    2.    There is no plausible likelihood that Plaintiff will be deceived
                    25                    again regarding Roundup’s alleged carcinogenicity.
                    26
                                    Plaintiff does not substantively respond to Home Depot’s argument that his
                    27
                           knowledge that Roundup is allegedly carcinogenic means he has not plausibly
                    28
U M BERG Z I PSER   LLP    {195359.1}                                  22
  ATTO RNEY S AT LAW
        IRVINE


                                                                                           2:19-CV-06780-FMO-AS
                                                 HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
           Case 2:19-cv-06780-FMO-AS Document 36 Filed 01/16/20 Page 30 of 30 Page ID #:1066



                       1   alleged he would suffer injury even if he bought Roundup again. But this too
                       2   defeats any claim that Plaintiff has standing to seek injunctive relief. That is, even if
                       3   Plaintiff had plausibly alleged that he intends to purchase Roundup in the future
                       4   (and he did not), he does not and cannot explain how he could be deceived again
                       5   given that his own complaint alleges that he is aware of glyphosate’s
                       6   carcinogenicity. Post-Davidson, numerous courts have held that plaintiffs lack
                       7   standing to seek injunctive relief where their complaints made clear that they could
                       8   not be deceived in the same manner in the future. See Jackson v. Gen. Mills, Inc.,
                       9   No. 18CV2634-LAB (BGS), 2019 WL 4599845, at *5 (S.D. Cal. Sept. 23, 2019)
                    10     (plaintiff had not shown a likelihood of future deception, and thus lacked Article III
                    11     standing, where the injunction she sought would require “changed product labeling
                    12     to tell her what she already knows”); Matic, 2019 WL 3084335, at *8 (plaintiff
                    13     lacked standing to seek injunctive relief because he complained that defendant’s
                    14     packaging misled him about the weight of product, but complaint made clear that
                    15     plaintiff now knew “precisely where to find” accurate weight information and thus
                    16     would not be deceived in the future); Pharmavite, 2019 WL 109446, at *6
                    17     (plaintiffs lacked standing when their complaint alleged that the defendant’s
                    18     products were not beneficial “as a matter of scientific fact” and thus could not be
                    19     deceived about their benefits in the future). The same analysis applies here, and
                    20     Plaintiff thus lacks standing to seek injunctive relief.
                    21                                      V. CONCLUSION
                    22              For all of the foregoing reasons, the Motion should be GRANTED.
                    23     Dated: January 16, 2020.
                    24                                       UMBERG ZIPSER LLP
                    25
                    26                                       /s/Adina W. Stowell
                    27                                       Adina W. Stowell
                                                             Attorneys for Defendant Home Depot U.S.A., Inc.
                    28
U M BERG Z I PSER   LLP    {195359.1}                                 23
  ATTO RNEY S AT LAW
        IRVINE


                                                                                          2:19-CV-06780-FMO-AS
                                                HOME DEPOT’S REPLY MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
